Case 23-19865-JKS             Doc 7     Filed 11/07/23 Entered 11/07/23 00:16:05                     Desc Main
                                        Document     Page 1 of 45


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Debtors in Possession                                        Debtors in Possession

                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY


In re:                                                         Chapter 11

WEWORK INC., et al.,                                           Case No. 23-19865 (JKS)

                                    Debtors.1                  (Joint Administration Requested)


                 DEBTORS’ MOTION FOR ENTRY OF INTERIM
             AND FINAL ORDERS (I) AUTHORIZING THE DEBTORS
            TO (A) MAINTAIN INSURANCE AND SURETY COVERAGE
         ENTERED INTO PREPETITION AND PAY RELATED PREPETITION
      OBLIGATIONS AND (B) RENEW, SUPPLEMENT, MODIFY, OR PURCHASE
    INSURANCE AND SURETY COVERAGE AND (II) GRANTING RELATED RELIEF

         TO: THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”) state

as follows in support of this motion (the “Motion”):2



1
     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s
     principal place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address
     in these chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd.
     Beaverton, OR 97005.
Case 23-19865-JKS            Doc 7     Filed 11/07/23 Entered 11/07/23 00:16:05                      Desc Main
                                       Document     Page 2 of 45



                                               Relief Requested

        1.       The Debtors seek entry of orders, substantially in the forms attached hereto as

Exhibit A and Exhibit B (respectively, the “Interim Order” and “Final Order”): (a) authorizing,

but not directing, the Debtors to (i) maintain insurance and surety coverage under the Insurance

Policies and the Surety Bonds (as applicable) (each as defined herein) entered into prepetition

and pay related prepetition obligations in the ordinary course of business and (ii) renew,

supplement, modify, or purchase insurance and surety coverage in the ordinary course of

business on a postpetition basis, and (b) granting related relief. In addition, the Debtors request

that the Court schedule a final hearing twenty-eight (28) days after the commencement of these

chapter 11 cases to consider entry of the Final Order.

                                          Jurisdiction and Venue

        2.       The United States Bankruptcy Court for the District of New Jersey (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order

of Reference to the Bankruptcy Court Under Title 11, entered July 23, 1984, and amended on

September 18, 2012 (Simandle, C.J.). The Debtors confirm their consent to the Court’s entering

a final order in connection with this Motion to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

        3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.       The bases for the relief requested herein are sections 105(a) and 363(b) of title 11

of the United States Code (the “Bankruptcy Code”), rules 2002, 6003, and 6004 of the Federal
2
    A detailed description of the Debtors and their businesses, including the facts and circumstances giving rise to
    the Debtors’ chapter 11 cases, is set forth in the Declaration of David Tolley, Chief Executive Officer of
    WeWork Inc., in Support of the Chapter 11 Petitions and First Day Motions (the “First Day Declaration”), filed
    contemporaneously herewith. Capitalized terms used but not defined in this Motion have the meaning ascribed
    to them in the First Day Declaration.



                                                        2
Case 23-19865-JKS        Doc 7   Filed 11/07/23 Entered 11/07/23 00:16:05            Desc Main
                                 Document     Page 3 of 45



Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 9013-1 and 9013-5 of the

Local Bankruptcy Rules for the District of New Jersey (the “Local Rules”).

                                         Background

       5.     The Debtors, together with their non‑Debtor affiliates (collectively, “WeWork” or

the “Company”), are the global leader in flexible workspace, integrating community, member

services, and technology. Founded in 2010 and headquartered in New York City, WeWork’s

mission is to create a collaborative work environment where people and companies across a

variety of industries, from freelancers to Fortune 100 companies, come together to optimize

performance. WeWork is publicly traded on the New York Stock Exchange and employs over

2,650 full‑time and fifty part-time workers in the United States and abroad. The Company

operates over 750 locations in thirty-seven countries and is among the top commercial real estate

lessors in business hubs including New York City, London, Dublin, Boston, and Miami. For the

fiscal year 2022, WeWork’s revenue was approximately $3.25 billion. The Debtors commenced

these chapter 11 cases to rationalize their lease portfolio, right-size their balance sheet, and

position WeWork for sustainable, long-term growth.

       6.     On November 6, 2023 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code. The Debtors have also filed a motion

requesting procedural consolidation and joint administration of these chapter 11 cases pursuant

to Bankruptcy Rule 1015(b). The Debtors are operating their business and managing their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. No request for the appointment of a trustee or examiner has been made in these chapter

11 cases, and no official committees have been appointed or designated.




                                               3
Case 23-19865-JKS             Doc 7     Filed 11/07/23 Entered 11/07/23 00:16:05                      Desc Main
                                        Document     Page 4 of 45



                     The Insurance Policies and Related Payment Obligations

        7.       In the ordinary course of business, the Debtors maintain approximately 41

insurance policies (collectively, the “Insurance Policies”) administered by various third-party

insurance carriers (collectively, the “Insurance Carriers”). Generally, the Insurance Policies fall

into the following categories: auto, crime, flood, workers’ compensation, property, terrorism,

business travel accident, crime, cyber/errors and omissions, director and officer liability

(including tail coverage), pollution, general and excess liability, and umbrella liability.3 As of

the Petition Date, the Debtors owe approximately $15.4 million with respect to the Premiums (as

defined herein) and related fees paid in connection with the Insurance Policies.

        8.       A schedule of the Insurance Policies is attached hereto as Exhibit C.4

        9.        The Debtors’ ability to maintain the Insurance Policies, to renew, supplement,

and modify the same as needed, and to enter into new insurance policies in the ordinary course of

business is essential to preserving the value of the Debtors’ business, operations, and assets.

Moreover, in many instances, insurance coverage is required by statutes, rules, regulations, and

contracts that govern the Debtors’ commercial activities, including the requirements of the

Office of the United States Trustee for the District of New Jersey (the “U.S. Trustee”) that a

debtor maintain adequate coverage given the circumstances of its chapter 11 case. Accordingly,

the Debtors seek authorization to (i) maintain the Insurance Policies, (ii) pay related Premiums,



3
    The Debtors do not seek authority to maintain workers’ compensation coverage and to pay prepetition amounts
    related thereto under this Motion, but rather request such authority as part of the Debtors’ Motion for Entry of
    Interim and Final Orders (I) Authorizing the Debtors to (A) Pay Prepetition Wages, Salaries, Other
    Compensation, and Reimbursable Expenses and (B) Continue Employee Benefits Programs; and (II) Granting
    Related Relief (the “Wages Motion”) filed contemporaneously herewith.
4
    The descriptions of the Insurance Policies set forth in Exhibit C constitute a summary only. The actual terms
    of the Insurance Policies and related agreements will govern in the event of any inconsistency with the
    description in this Motion. Furthermore, the Debtors request relief with respect to Insurance Policies payable to
    all Insurance Carriers, regardless of whether such Insurance Carrier is specifically identified on Exhibit C.



                                                         4
Case 23-19865-JKS         Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05          Desc Main
                                   Document     Page 5 of 45



Deductibles, SIRs, and Brokerage Fees (each as defined below) related thereto, (iii) renew,

supplement, or modify the Insurance Policies as needed, and (iv) to enter into new insurance

policies in the ordinary course of business.

               I.      Premium Payments.

       10.     The Insurance Policies are one-to-six years in length and generally renew

annually. The aggregate annual premium obligations associated with the Insurance Policies

(the “Premiums”) is approximately $23.1 million, not including applicable taxes and surcharges.

A portion of the Premiums are financed pursuant to two premium financing agreements

(the “Financing Agreements”). Pursuant to the Financing Agreements, the Debtors are required

to make aggregate monthly premium payments of approximately $510,881.

       11.     As of the Petition Date, the Debtors owe approximately $15.4 million with respect

to the Premiums and related fees, including Premiums paid pursuant to the Financing

Agreements and Brokerage Fees (as defined herein).        The Debtors seek authority, but not

direction, to pay any outstanding prepetition Premiums owed and to continue to honor their

obligations under the Insurance Policies as they come due in the ordinary course of business on a

postpetition basis consistent with past practice.

               II.     Deductible Fees and SIRs.

       12.     Pursuant to certain of the Insurance Policies, the Debtors are required to pay

various deductibles or retention amounts (each, a “Deductible”), depending upon the type of

claim and Insurance Policy involved. Under such Insurance Policies, the Insurance Carriers may

pay claimants and then invoice the Debtors for any Deductible. In such situations, the Insurance

Carriers may have prepetition claims against the Debtors.        The Debtors risk losing their

Insurance Policies if they fail to make their Deductible payments, which would not only greatly




                                                    5
Case 23-19865-JKS        Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05            Desc Main
                                  Document     Page 6 of 45



increase the risk related to the Debtors’ operations but also may cause them to violate state laws

that require them to maintain such policies. To avoid this outcome, the Debtors seek authority,

but not direction, to honor any amounts owed on account of Insurance Deductibles in the

ordinary course of business.

       13.     Alternatively, certain of the Debtors’ policies use a self-insured retention

(collectively, the “SIRs”). If a claim is made under these policies, the Debtors make payments to

the applicable Insurance Carrier up to the limit of the SIR (the “SIR Fees”), and once the

aggregate value of such claims reaches the SIR amount under the applicable Insurance Policy,

the Insurance Carrier will cover remaining costs up to a predetermined liability limit. The

amount of the SIR Fees ranges from $10,000 to $1,500,000.

       14.     From November 2018, the Debtors entered into an alternative arrangement with

Insurance Carriers Sompo America Insurance Company and Endurance Assurance Corporation

(the “Sompo Program,” the Insurance Carriers thereunder, the “Sompo Insurance Carriers,” and

the Insurance Policies included therein, the “Sompo Insurance Policies”). The Sompo Program

is governed by a payment and security agreement (the “Sompo Agreement”) between the Sompo

Insurance Carriers and the Debtors and acts as a guaranteed cost program that provides payment

assurance to the Insurance Carriers and more predictable cash flows in connection with the

Insurance Policies to the Debtors. The Sompo Program requires the Debtors to prefund a

working fund (the “Working Fund”) in an amount equal to the Sompo Insurance Carriers’

estimation of the Debtors’ aggregate payment obligations, not to exceed the aggregate

Deductibles and/or SIRs in the following year, under the Sompo Insurance Policies. Each year,

the Debtors and Sompo Insurance Carriers amend the Sompo Agreement to add or remove

Sompo Insurance Policies and adjust the amount of the Working Fund. The current Sompo




                                                6
Case 23-19865-JKS         Doc 7   Filed 11/07/23 Entered 11/07/23 00:16:05            Desc Main
                                  Document     Page 7 of 45



Program is governed by the 2022 Sompo Agreement, which contains two Sompo Insurance

Policies.

       15.       The Debtors’ payment obligations under each Sompo Agreement are calculated

36 months after the Sompo Insurance Policies therein expire, and the Sompo Insurance Carriers

then apply a loss development factor to such payment obligations (the “Adjusted Payment

Obligations”).     If the Adjusted Payment Obligations are less than the aggregate stop loss

provided in the Sompo Agreement, the Debtors will receive a return from the Working Fund. If

the Adjusted Payment Obligations exceed the aggregate stop loss, the Debtors have no obligation

to reimburse the Sompo Insurance Carriers. As of the Petition Date, the Debtors are entitled to a

refund of approximately $6.1 million from the Working Fund, with approximately $500,000 due

to be paid to the Debtors in November 2023.

       16.       Additionally, as of the Petition Date, the Debtors estimate that there are

approximately $2.35 million in accrued but unpaid amounts pursuant to the Deductibles and

SIRs (not including the Deductibles and SIRs under the Sompo Insurance Policies). To ensure

continued coverage, the Debtors seek authority to (i) honor all such prepetition amounts due and

owing pursuant to the Deductibles and the SIRs, (ii) continue to honor their obligations under the

Deductibles or SIRs in the ordinary course of business on a postpetition basis, and (iii) continue

to honor their obligations under the Sompo Agreement in the ordinary course of business on a

postpetition basis.

                 III.   Insurance Brokerage Fees.

       17.       The Debtors obtain their Insurance Policies through their insurance brokers,

Marsh USA Inc. and Rampart Insurance Services, and their various affiliates (the “Insurance

Brokers”). The Insurance Brokers assist the Debtors in obtaining comprehensive insurance




                                                7
Case 23-19865-JKS            Doc 7     Filed 11/07/23 Entered 11/07/23 00:16:05                    Desc Main
                                       Document     Page 8 of 45



coverage and evaluating benefit plan offerings and advise the Debtors with respect to accounting

and actuarial methodology. They also advise the Debtors on the negotiation of the Insurance

Policies, enabling the Debtors to obtain the Insurance Policies on advantageous terms and at

competitive rates.

        18.      The Insurance Brokers collect fees and/or commission payments for services

rendered (the “Brokerage Fees”) assisting the Debtors in obtaining the Insurance Policies. The

Brokerage Fees are included in the Premiums that the Debtors pay in the ordinary course of

business. As of the Petition Date, the Debtors estimate they do not owe any amount on account

of prepetition obligations associated with the Insurance Policies outside of the Premiums.

Nevertheless, out of the abundance of caution, the Debtors seek authority, but not direction, to

pay any outstanding prepetition Brokerage Fees (if any) and to continue to pay Brokerage Fees

as they come due in the ordinary course of business on a postpetition basis consistent with

past practice.

                                  The Debtors’ Surety Bond Program

        19.      In the ordinary course of business, the Debtors are required to provide surety

bonds (the “Surety Bonds”) to certain third parties to secure the Debtors’ payment or

performance of certain obligations (the “Surety Bond Program”). A schedule of the Surety

Bonds currently maintained by the Debtors is attached hereto as Exhibit D.5

        20.      The Debtors currently maintain twenty-five Surety Bonds, in the aggregate

amount of approximately $66.4 million, consisting of three mechanic lien bonds and twenty-two

lease security bonds (the “Lease Security Bonds”) in the United States and Canada.

5
    The descriptions of the Surety Bonds set forth in this Motion constitute a summary only. The actual terms of
    the Surety Bonds and related agreements will govern in the event of any inconsistency with the description in
    this Motion. The Debtors request authority to honor obligations and renew all surety bonds, as applicable,
    regardless of whether the Debtors inadvertently fail to include a particular surety bond on Exhibit D.



                                                       8
Case 23-19865-JKS        Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05           Desc Main
                                  Document     Page 9 of 45



       21.     When a party that transacts with the Debtors requests a bond and the Debtors

determine that they have better operational uses for cash and do not wish to provide such cash

and/or cash equivalents necessary to satisfy such request, they may obtain a surety bond from a

surety (the “Surety”).   In such situations, sureties provide, upfront, the full amount of the

requested cash and cash equivalents to the requesting party on behalf of the Debtors, in exchange

for a fee from the Debtors and an amount of collateral to secure the bond issuance on the

Debtors’ behalf. The issuance of a surety bond shifts the risk of the Debtors’ nonperformance or

nonpayment from an obligee (such as a landlord) to a surety.

       22.     Among the Surety Bonds, all twenty-two of the Lease Security Bonds are

supported by the Debtors’ LC Facility. In the event that a landlord draws on a Lease Security

Bond, instead of seeking reimbursement from the Debtors, the Surety may draw funds on a

corresponding letter of credit under the LC Facility for the amount that it paid to the landlord

under the Surety Bond Program. The Debtors have not obtained any additional Lease Security

Bonds since June 2023, and they do not currently plan to obtain any in the future.

       23.     To preserve estate value during these chapter 11 cases, the Debtors must maintain

the existing Surety Bond Program, including paying bond premiums and related fees as they

come due, providing the Sureties with necessary collateral, renewing or potentially acquiring

additional bonding capacity as needed in the ordinary course of business, and executing other

agreements, as appropriate, in connection with the Surety Bond Program. Failing to provide,

maintain, or timely replace their Surety Bonds may prevent the Debtors from complying with

their lease obligations and consequently prevent them from undertaking essential functions, such

as operating its lease portfolio and providing flexible workspace services.




                                                 9
Case 23-19865-JKS         Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05             Desc Main
                                  Document      Page 10 of 45



       24.     The premiums for the Surety Bonds (the “Surety Premiums”) are generally

determined on an annual basis and are paid by the Debtors when the bonds are issued and upon

renewal. The aggregate annual premium for the Surety Bonds currently maintained by the

Debtors is approximately $410,000. As of the Petition Date, the Debtors owe approximately

$205,000 with respect to the Surety Premiums and related fees.

       25.     In addition, Sureties often require the Debtors to sign an agreement promising to

pay the surety in the event the bond is called. Unlike an insurance policy, if a surety incurs a loss

on a surety bond, it is entitled to recover the full amount of that loss from the principal

(the Debtors). To that end, the Debtors are party to indemnity agreements (each an “Indemnity

Agreement,” and collectively, the “Indemnity Agreements”) with certain of the Sureties that set

forth each Surety’s rights to recover from the Debtors. Pursuant to the Indemnity Agreements,

the Debtors agree to indemnify the relevant Surety from any loss, charge, claim, demand, cost,

liability, or expense that such Surety may incur on account of the issuance of any bonds on

behalf of the Debtors. Additionally, each Indemnity Agreement allows the applicable Surety to

request collateral from the Debtors from time-to-time.

       26.     The Debtors obtain their Surety Bonds through Marsh USA Inc. (the “Surety

Bond Broker,” together with the Insurance Brokers, the “Brokers”). The Surety Bond Broker is

paid a commission for their services (the “Surety Brokerage Fees”) related to surety bond

coverage in connection with the Debtors’ Surety Bond Program, which is payable as part of the

premiums paid on the Surety Bond Program. As of the Petition Date, the Debtors estimate they

do not owe any amount on account of prepetition obligations associated with the Surety Bond

Program outside of the Surety Premiums.




                                                 10
Case 23-19865-JKS        Doc 7     Filed 11/07/23 Entered 11/07/23 00:16:05            Desc Main
                                  Document      Page 11 of 45



       27.     To continue their business operations during these chapter 11 cases, the Debtors

must be able to provide financial assurance to landlords, contract counterparties, and other third

parties. As explained above, the Debtors do not currently plan to provide any additional Lease

Security Bonds. Nevertheless, out of an abundance of caution, the Debtors seek authorization,

but not direction, to maintain the existing Surety Bond Program, including the Lease Security

Bonds, including, without limitation: (i) pay any outstanding prepetition Surety Premiums owed

and to continue to honor their obligations under the Surety Bond Program as they come due in

the ordinary course of business on a postpetition basis consistent with past practice; (ii) renewing

or potentially acquiring additional bonding capacity, as necessary, in the ordinary course of

business; (iii) requesting releases from duplicate bonding obligations; (iv) cancelling, revising,

and/or supplementing Surety Bonds; (v) paying Surety Brokerage Fees as they come due;

(vi) providing collateral and complying with collateral and indemnity requirements in the

ordinary course of business; (vii) replacing the Surety Bond Broker as may be necessary; and

(viii) executing other agreements in connection with the Surety Bond Program.

                                         Basis for Relief

I.     Continuation of the Insurance Policies is Required by the Bankruptcy Code and
       U.S. Trustee Guidelines.

       28.     Section 1112(b)(4)(C) of the Bankruptcy Code provides that “failure to maintain

appropriate insurance that poses a risk to the estate or to the public” is “cause” for mandatory

conversion or dismissal of a chapter 11 case. 11 U.S.C. § 1112(b)(4)(C). In addition, in many

instances, the coverage provided under the Insurance Policies is required by the regulations,

laws, and contracts that govern the Debtors’ commercial activities, including the U.S. Trustee

Guidelines. Accordingly, the Debtors believe it is essential to their estates, and consistent with

the Bankruptcy Code and the U.S. Trustee Guidelines, that they continue to satisfy all



                                                11
Case 23-19865-JKS         Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05           Desc Main
                                  Document      Page 12 of 45



obligations related to the Insurance Policies and the Surety Bond Program (as applicable) and

have the authority to supplement, amend, extend, renew, or replace their Insurance Policies and

Surety Bond Program as needed, in their business judgment, without further order of the Court.

II.       The Debtors Should Be Authorized to Satisfy Prepetition Obligations Required
          under the Insurance Policies and Surety Bond Program and to Continue Honoring
          Such Obligations Postpetition.

          29.   The relief requested herein is essential to the Debtors’ continuation of ordinary

course operations and, as such, is warranted under sections 105(a) and 363 of the Bankruptcy

Code. Courts have recognized that it is appropriate to authorize the payment of prepetition

obligations where necessary to protect and preserve the estate, including an operating business’s

going-concern value. See, e.g., In re Ionosphere Clubs, Inc., 98 B.R. 174, 175 (Bankr. S.D.N.Y.

1989) (“The ability of a [b]ankruptcy [c]ourt to authorize the payment of pre-petition debt when

such payment is needed to facilitate the rehabilitation of the debtor is not a novel concept.”);

Armstrong World Indus., Inc. v. James A. Phillips, Inc. (In re James A. Phillips, Inc.), 29 B.R.

391, 398 (S.D.N.Y. 1983). In so doing, these courts acknowledge that several legal theories

rooted in sections 105(a) and 363(b) of the Bankruptcy Code support the payment of prepetition

claims.

          30.   Section 363 of the Bankruptcy Code provides, in relevant part, that a debtor in

possession may enter into transactions, including the use, sale, or lease of property in the

ordinary course of business, without notice or a hearing. 11 U.S.C. § 363(c)(1). The Debtors’

obligations on account of the Insurance Policies and the Surety Bond Program are incurred in the

ordinary course of business and thus may be continued in the Debtors’ discretion under

section 363(c)(1) of the Bankruptcy Code. In the alternative, “[t]he [debtor in possession], after

notice and a hearing, may use, sell, or lease, other than in the ordinary course of business,

property of the estate[.]” 11 U.S.C. § 363(b)(1).      This provision grants a court broad


                                               12
Case 23-19865-JKS        Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05              Desc Main
                                 Document      Page 13 of 45



flexibility to authorize a debtor to pay prepetition claims where a sound business purpose

exists. See In re Ionosphere Clubs, Inc., 98 B.R. at 175. Moreover, “[w]here the debtor

articulates a reasonable basis for its business decisions (as distinct from a decision made

arbitrarily or capriciously), courts will generally not entertain objections to the debtor’s

conduct.” The Committee of Asbestos-Related Litigants and/or Creditors v. Johns-Manville

Corp. (In re Johns-Manville Corp.), 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986); see also Stanziale

v. Nachtomi (In re Tower Air, Inc.), 416 F.3d 229, 238 (3d Cir. 2005) (“Overcoming the

presumptions of the business judgment rule on the merits is a near-Herculean task.”).

       31.     Section 105(a) of the Bankruptcy Code further provides that a court “may issue

any order, process, or judgment that is necessary or appropriate to carry out the provisions” of

the Bankruptcy Code, pursuant to the doctrine of necessity. 11 U.S.C. § 105(a). The “doctrine

of necessity” functions in a chapter 11 case as a mechanism by which the bankruptcy court can

exercise its equitable power to allow payment of prepetition claims not explicitly authorized by

the Bankruptcy Code and further supports the relief requested herein. See In re Lehigh & New

Eng. Ry. Co., 657 F.2d 570, 581–82 (3d Cir. 1981) (holding that a court may authorize payment

of prepetition claims if such payment is essential to debtor’s continued operation); see also

In re Just for Feet, Inc., 242 B.R. at 824–25 (holding that section 105(a) of the Bankruptcy Code

“provides a statutory basis for payment of pre-petition claims” under the doctrine of necessity);

In re Columbia Gas Sys., Inc., 171 B.R. 189, 191–92 (Bankr. D. Del. 1994) (explaining that the

doctrine of necessity is the standard for enabling a court to authorize the payment of prepetition

claims prior to confirmation of a reorganization plan). A bankruptcy court’s use of its equitable

powers to “authorize the payment of pre-petition debt when such payment is needed to facilitate

the rehabilitation of the debtor is not a novel concept.” In re Ionosphere Clubs, 98 B.R. at 175–




                                               13
Case 23-19865-JKS          Doc 7     Filed 11/07/23 Entered 11/07/23 00:16:05          Desc Main
                                    Document      Page 14 of 45



76 (citing Miltenberger v. Logansport, C. & S.W. Ry. Co., 106 U.S. 286 (1882)). Indeed, at least

one court has recognized that there are instances when a debtor’s fiduciary duty “can only be

fulfilled by the preplan satisfaction of a prepetition claim.” In re CoServ, 273 B.R. 487, 497

(Bankr. N.D. Tex. 2002). Accordingly, pursuant to sections 105(a) and 363(b) of the Bankruptcy

Code, this Court may grant the relief requested herein.

        32.     The doctrine of necessity is satisfied here. The nature of the Debtors’ business

and these chapter 11 cases render it essential for the Debtors to maintain their Insurance Policies,

Financing Agreements, and Surety Bond Program (as applicable) on an ongoing and

uninterrupted basis. The non-payment of any Premiums, Deductibles, SIRs, Brokerage Fees, or

related fees under the Insurance Policies, Financing Agreements, or Surety Bonds (as applicable)

could result in one or more of the Insurance Carriers or Sureties terminating or declining to

renew the Insurance Policies or Surety Bonds or refusing to enter into new insurance policies or

surety bonds with the Debtors. If any of the Insurance Policies or Surety Bonds lapse without

renewal, the Debtors could be exposed to substantial liability or property damages, to the

detriment of all parties in interest.

        33.     Any interruption in insurance coverage or lapse in maintenance of a Surety Bond

would expose the Debtors to a number of risks, including: (i) the possible incurrence of direct

liability for the payment of claims that otherwise would have been covered by the Insurance

Policies or Surety Bonds; (ii) the possible incurrence of material costs and other losses that

otherwise would have been reimbursed; (iii) the possible inability to obtain similar insurance

coverage or surety bonds on terms as equally favorable as the present coverage; and (iv) the

possible incurrence of higher costs for re-establishing lapsed Insurance Policies or obtaining new

insurance coverage or surety bonds. In short, failure to maintain the Insurance Policies and any




                                                14
Case 23-19865-JKS          Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05         Desc Main
                                   Document      Page 15 of 45



Surety Bonds could have a detrimental impact on the Debtors’ business and the value of their

estates.

           34.   Furthermore, the continued retention of the Brokers allows the Debtors and their

employees to focus on their core operational matters. The Debtors are not well-suited to bring

the services provided by the Brokers in-house. If the Debtors fail to make timely payments to

the Brokers, the Debtors may lose access to the Brokers’ valuable services, disrupting

management to the detriment of all stakeholders. Accordingly, the requirements of section

363(b) of the Bankruptcy Code are satisfied.

           35.   Here, the Debtors seek to continue, amend, supplement, and extend their existing

Insurance Policies, Financing Agreements, and Surety Bond Program, and purchase new

Insurance Policies and Surety Bonds in the ordinary course of business. As noted above,

continuation of the Insurance Policies, the Financing Agreements, the Surety Bond Program, and

the Indemnity Agreements is essential to continuing uninterrupted operations during these

chapter 11 cases and preserving the value of the Debtors’ business, properties, and assets of the

estates. The Insurance Policies protect the Debtors and other parties in interest from losses

caused by crime, natural disaster, accidents, or other unforeseen events. Moreover, in some

cases, maintenance of insurance coverage is required by the regulations, laws, and contracts that

govern the Debtors’ commercial activities, including the U.S. Trustee’s requirement that a debtor

maintain adequate coverage given the circumstances of its chapter 11 case. Accordingly, in the

event any of the Insurance Policies lapse or new coverage is required or necessary, it is

imperative that the Debtors be able to renew, supplement, or purchase insurance coverage or

surety bonds on a postpetition basis in the ordinary course of business.




                                                15
Case 23-19865-JKS            Doc 7     Filed 11/07/23 Entered 11/07/23 00:16:05                     Desc Main
                                      Document      Page 16 of 45



        36.      Courts in this district and other jurisdictions have granted relief similar to the

relief requested herein under sections 105(a) and 363(b) of the Bankruptcy Code. See, e.g., In re

Rite Aid Corporation, Inc., No. 23-18993 (Bankr. D.N.J. Oct. 18, 2023) (authorizing debtors to

continue their insurance policies and surety bond program on an interim basis); In re Cyxtera

Techs., Inc., No. 23-14853 (JKS) (Bankr. D.N.J. June 29, 2023) (authorizing debtors to continue

their insurance policies and surety bond program on a final basis); In re Bed Bath & Beyond Inc.,

No. 23-13359 (VFP) (Bankr. D.N.J. May 17, 2023) (same); In re BlockFi Inc, No. 22-19361

(MBK) (Bankr. D.N.J. Jan. 17, 2023) (same); In re David’s Bridal, LLC No. 23-13131 (CMG)

(Bankr. D.N.J. Apr. 17, 2023) (same).6

         Processing of Checks and Electronic Fund Transfers Should be Authorized

        37.      The Debtors have sufficient funds to pay the amounts described in this Motion in

the ordinary course of business by virtue of expected cash flows from ongoing business

operations and anticipated access to cash collateral. In addition, under the Debtors’ existing cash

management system, the Debtors can readily identify checks or wire transfer requests as relating

to any authorized payment in respect of the relief requested herein. Accordingly, the Debtors

believe that checks or wire transfer requests, other than those relating to authorized payments,

will not be honored inadvertently. Therefore, the Debtors request that the Court authorize all

applicable financial institutions, when requested by the Debtors, to receive, process, honor, and

pay any and all checks or wire transfer requests in respect of the relief requested in this Motion.

                   The Requirements of Bankruptcy Rule 6003(b) Are Satisfied

        38.      Bankruptcy Rule 6003 empowers a court to grant relief within the first twenty-one

(21) days after the Petition Date “to the extent that relief is necessary to avoid immediate and

6
    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
    Copies of these orders are available upon request made to the Debtors’ proposed counsel.



                                                       16
Case 23-19865-JKS         Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05               Desc Main
                                  Document      Page 17 of 45



irreparable harm.” As set forth in this Motion, the Debtors believe an immediate and orderly

transition into chapter 11 is critical to the viability of their operations and that any delay in

granting the relief requested could hinder the Debtors’ operations and cause irreparable harm.

Furthermore, the failure to receive the requested relief during the first twenty-one days of these

chapter 11 cases would severely disrupt the Debtors’ operations at this critical juncture. The

Debtors’ ability to renew, supplement, or purchase insurance coverage or surety bonds on a

postpetition basis in the ordinary course of business is vital to a smooth transition into

chapter 11.   Accordingly, the Debtors have satisfied the “immediate and irreparable harm”

standard of Bankruptcy Rule 6003 to support the relief requested herein.

                                   Request of Waiver of Stay

       39.     To the extent that the relief sought in the Motion constitutes a use of property

under section 363(b) of the Bankruptcy Code, the Debtors seek a waiver of the fourteen-day stay

under Bankruptcy Rule 6004(h). Furthermore, to the extent applicable, the Debtors request that

the Court find that the provisions of Bankruptcy Rule 6003 are satisfied. As explained herein,

the relief requested in this Motion is immediately necessary for the Debtors to be able to

continue to operate their businesses and preserve the value of their estates.

                                Waiver of Memorandum of Law

       40.     The Debtors request that the Court waive the requirement to file a separate

memorandum of law pursuant to Local Rule 9013-1(a)(3) because the legal basis upon which the

Debtors rely is set forth herein and the Motion does not raise any novel issues of law.

                                      Reservation of Rights

       41.     Notwithstanding anything to the contrary herein, nothing contained in this Motion

or any actions taken pursuant to any order granting the relief requested by this Motion is

intended as or should be construed or deemed to be: (a) an implication or admission as to the


                                                 17
Case 23-19865-JKS          Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05               Desc Main
                                   Document      Page 18 of 45



amount of, basis for, or validity of any particular claim against the Debtors under the Bankruptcy

Code or other applicable non‑bankruptcy law; (b) a waiver of the Debtors’ or any other party in

interest’s rights to dispute any particular claim on any grounds; (c) a promise or requirement to

pay any particular claim; (d) an implication, admission, or finding that any particular claim is an

administrative expense claim, other priority claim, or of a type otherwise specified or defined in

this Motion or any order granting the relief requested by this Motion; (e) a request or

authorization to assume, adopt, or reject any agreement, contract, or lease pursuant to section 365

of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability, or perfection

of any lien on, security interest in, or other encumbrance on property of the Debtors’ estates; (g)

a waiver or limitation of the Debtors’, or any other party in interest’s, claims, causes of action, or

other rights under the Bankruptcy Code or any other applicable law; (h) an approval, assumption,

adoption, or rejection of any agreement, contract, lease, program, or policy under section 365 of

the Bankruptcy Code; (i) a concession by the Debtors that any liens (contractual, common law,

statutory, or otherwise) that may be satisfied pursuant to the relief requested in this Motion are

valid, and the rights of all parties in interest are expressly reserved to contest the extent, validity,

or perfection or seek avoidance of all such liens; (j) a waiver of the obligation of any party in

interest to file a proof of claim; or (k) otherwise affecting the Debtors’ rights under section 365

of the Bankruptcy Code to assume or reject any executory contract or unexpired lease. If the

Court grants the relief sought herein, any payment made pursuant to the Court’s order is not

intended and should not be construed as an admission as to the validity, priority, or amount of

any particular claim or a waiver of the Debtors’ rights to subsequently dispute such claim.

                                          No Prior Request

        42.     No prior request for the relief sought in this Motion has been made to this Court

or any other court.


                                                  18
Case 23-19865-JKS          Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05             Desc Main
                                   Document      Page 19 of 45



                                                  Notice

        43.      The Debtors will provide notice of this Motion to the following parties or their

respective counsel: (a) the U.S. Trustee for the District of New Jersey; (b) the holders of the

thirty largest   unsecured    claims    against     the    Debtors   (on    a   consolidated   basis);

(c) Davis Polk & Wardwell LLP and Greenberg Traurig, LLP, as counsel to the Ad Hoc Group;

(d) Weil, Gotshal & Manges LLP and Wollmuth Maher & Deutsch LLP, as counsel to SoftBank;

(e) Cooley LLP, as counsel to Cupar Grimmond, LLC; (f) the agents under each of the Debtors’

prepetition secured credit facilities and counsel thereto; (g) the office of the attorney general for

each of the states in which the Debtors operate; (h) the United States Attorney’s Office for the

District of New Jersey; (i) the Securities and Exchange Commission; (j) the Internal Revenue

Service; (k) the Insurance Carriers; (l) the Sureties (as applicable); and (m) any party that has

requested notice pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested,

no other or further notice need be given.

                             [Remainder of page intentionally left blank]




                                                   19
 Case 23-19865-JKS         Doc 7     Filed 11/07/23 Entered 11/07/23 00:16:05            Desc Main
                                    Document      Page 20 of 45



         WHEREFORE, the Debtors request that the Court enter interim and final orders, in

 substantially the forms submitted herewith, granting the relief requested herein and such other

 relief as is just and proper under the circumstances.

Dated: November 6, 2023
/s/ Michael D. Sirota
COLE SCHOTZ P.C.                                KIRKLAND & ELLIS LLP
Michael D. Sirota, Esq.                         KIRKLAND & ELLIS INTERNATIONAL LLP
Warren A. Usatine, Esq.                         Edward O. Sassower, P.C.
Felice R. Yudkin, Esq.                          Joshua A. Sussberg, P.C (pro hac vice pending)
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Proposed Co-Counsel for Debtors and             Proposed Co-Counsel for Debtors and
Debtors in Possession                           Debtors in Possession
Case 23-19865-JKS   Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05   Desc Main
                            Document      Page 21 of 45



                                    Exhibit A

                              Proposed Interim Order
Case 23-19865-JKS            Doc 7     Filed 11/07/23 Entered 11/07/23 00:16:05                     Desc Main
                                      Document      Page 22 of 45



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
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Proposed Co-Counsel for Debtors and
Debtors in Possession


In re:                                                            Chapter 11

WEWORK INC., et al.,                                              Case No. 23-19865 (JKS)

         Debtors.1                                                (Joint Administration Requested)



1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s
    principal place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address
    in these chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd.
    Beaverton, OR 97005.
Case 23-19865-JKS    Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05       Desc Main
                             Document      Page 23 of 45



           INTERIM ORDER (I) AUTHORIZING THE DEBTORS
         TO (A) MAINTAIN INSURANCE AND SURETY COVERAGE
      ENTERED INTO PREPETITION AND PAY RELATED PREPETITION
   OBLIGATIONS AND (B) RENEW, SUPPLEMENT, MODIFY, OR PURCHASE
 INSURANCE AND SURETY COVERAGE AND (II) GRANTING RELATED RELIEF

     The relief set forth on the following pages, numbered three (3) through nine (9), is

ORDERED.
Case 23-19865-JKS            Doc 7     Filed 11/07/23 Entered 11/07/23 00:16:05                     Desc Main
                                      Document      Page 24 of 45
(Page | 3)
Debtors:                  WeWork Inc., et al.
Case No.                  23-19865 (JKS)
Caption of Order:         Interim Order (I) Authorizing the Debtors to (A) Maintain Insurance and
                          Surety Coverage Entered into Prepetition and Pay Related Prepetition
                          Obligations, and (B) Renew, Supplement, Modify, or Purchase Insurance
                          and Surety Coverage, and (II) Granting Related Relief

        Upon the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the

Debtors to (A) Maintain Insurance and Surety Coverage Entered into Prepetition and Pay

Related Prepetition Obligations and (B) Renew, Supplement, Modify, or Purchase Insurance and

Surety Coverage and (II) Granting Related Relief (the “Motion”),2 of the above-captioned

debtors and debtors in possession (collectively, the “Debtors”), for entry of an interim order

(this “Interim Order”) (i) authorizing the Debtors to (a) maintain coverage under the Insurance

Policies and the Surety Bonds (as applicable) and pay related prepetition obligations and

(b) renew, supplement, modify, or purchase insurance and surety coverage in the ordinary course

of business, (c) scheduling a final hearing to consider approval of the Motion on a final basis,

and (ii) granting related relief, all as more fully set forth in the Motion; and upon the First Day

Declaration; and the Court having jurisdiction to consider the Motion and the relief requested

therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to the

Bankruptcy Court Under Title 11 of the United States District Court for the District of New

Jersey, entered July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this

Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Debtors’ notice of

the Motion was appropriate under the circumstances and no other notice need be provided; and

this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having


2
    Capitalized terms used but not otherwise defined herein have the meaning ascribed to them in the Motion.
Case 23-19865-JKS         Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05            Desc Main
                                  Document      Page 25 of 45
(Page | 4)
Debtors:               WeWork Inc., et al.
Case No.               23-19865 (JKS)
Caption of Order:      Interim Order (I) Authorizing the Debtors to (A) Maintain Insurance and
                       Surety Coverage Entered into Prepetition and Pay Related Prepetition
                       Obligations, and (B) Renew, Supplement, Modify, or Purchase Insurance
                       and Surety Coverage, and (II) Granting Related Relief

determined that the legal and factual bases set forth in the Motion establish just cause for the

relief granted herein; and upon all of the proceedings had before the Court and after due

deliberation and sufficient cause appearing therefor IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED on an interim basis as set forth herein.

       2.      The Final Hearing on the Motion will be held on _______, 2023, at

_____________ (Eastern Time). Objections, if any, that relate to the Motion shall be filed and

served so as to be actually received by the Debtors’ proposed counsel on or before

_______________, 2023, at 4:00 p.m. (Eastern Time). If no objections are filed to the Motion,

the Court may enter an order approving the relief requested in the Motion on a final basis

without further notice or hearing.

       3.      The Debtors are authorized, but not directed, to continue and maintain the

Insurance Policies, including, but not limited to, the Insurance Policies identified on Exhibit C to

the Motion, and, in their sole discretion, pay any related prepetition or postpetition amounts or

obligations thereto in the ordinary course of business, and consistent with prepetition practice,

including, but not limited to, Premiums, Deductibles, SIRs, Brokerage Fees, and any other

related expenses. The Debtors shall serve a copy of the Motion and this Interim Order on each

Insurance Carrier listed on Exhibit C to the Motion within two (2) business days after the date

this Interim Order is entered.

       4.      The Debtors are authorized, but not directed, to honor the terms of the Financing

Agreements and pay Premiums thereunder, in the ordinary course of their business and

consistent with past practices.
Case 23-19865-JKS          Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05         Desc Main
                                   Document      Page 26 of 45
(Page | 5)
Debtors:                WeWork Inc., et al.
Case No.                23-19865 (JKS)
Caption of Order:       Interim Order (I) Authorizing the Debtors to (A) Maintain Insurance and
                        Surety Coverage Entered into Prepetition and Pay Related Prepetition
                        Obligations, and (B) Renew, Supplement, Modify, or Purchase Insurance
                        and Surety Coverage, and (II) Granting Related Relief

        5.      The Debtors are authorized, but not directed, to continue and maintain their

Surety Bond Program as applicable, including, in their sole discretion: (i) maintaining new

Surety Bonds and paying any related prepetition and postpetition amounts or obligations thereto

in the ordinary course of business, and consistent with prepetition practice, including, but not

limited to, Surety Premiums, Surety Brokerage Fees, and any other related expenses; (ii) entering

into or acquiring additional bonding capacity, as necessary, in the ordinary course of business,

and consistent with prepetition practice; (iii) requesting releases from duplicate bonding

obligations; (iv) cancelling, revising, and/or supplementing the Surety Bonds; (v) renewing,

supplementing, and/or cancelling letters of credit or other forms of collateral as may be

necessary; (vi) providing collateral and complying with collateral and indemnity requirements in

the ordinary course of business; (vii) replacing the Surety Bond Broker as may be necessary; and

(viii) executing other agreements in connection with the Surety Bond Program, each in the

ordinary course of their business and consistent with past practices to the extent the Debtors

determine that such action is in the best interest of their estates.

        6.      The Debtors are authorized, but not directed, in their sole discretion, to renew,

amend, supplement, extend, or purchase existing or additional insurance policies and surety

bonds in the ordinary course of business, and consistent with prepetition practice on a

postpetition basis, as well as replace any of the Brokers as may be necessary.

        7. To the extent the Debtors subsequently become aware of additional Insurance

Policies or Surety Bonds that have not previously been disclosed, or to the extent the Debtors

enter into material new Insurance Policies or Surety Programs or renew any material Insurance
Case 23-19865-JKS         Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05           Desc Main
                                  Document      Page 27 of 45
(Page | 6)
Debtors:                WeWork Inc., et al.
Case No.                23-19865 (JKS)
Caption of Order:       Interim Order (I) Authorizing the Debtors to (A) Maintain Insurance and
                        Surety Coverage Entered into Prepetition and Pay Related Prepetition
                        Obligations, and (B) Renew, Supplement, Modify, or Purchase Insurance
                        and Surety Coverage, and (II) Granting Related Relief

Policies and Surety Bonds, the Debtors shall disclose these policies and programs to the U.S.

Trustee, the professional advisors to any statutory committees appointed in these chapter 11

cases, the Ad Hoc Group, and SoftBank.

       8.        The Debtors are authorized, but not directed, to honor any amounts owed on

account of any Insurance Policy Audits that take place in the ordinary course of business, and

consistent with prepetition practice.

       9.        Nothing in this Interim Order authorizes the Debtors to accelerate any payments

not otherwise due.

       10.       To the extent that any Insurance Policies or Surety Bonds or any related

obligation, contract, or agreement are deemed an executory contract within the meaning of

section 365 of the Bankruptcy Code, neither this Interim Order nor any payments made in

accordance with this Interim Order shall constitute the postpetition assumption of any such

Insurance Policies or Surety Bonds or any related obligation, contract, or agreement pursuant to

section 365 of the Bankruptcy Code.

       11.       The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

to receive, process, honor, and pay all such checks and electronic payment requests when

presented for payment, and all such banks and financial institutions are authorized to rely on the

Debtors’ designation of any particular check or electronic payment request as approved by this

Interim Order.
Case 23-19865-JKS         Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05              Desc Main
                                  Document      Page 28 of 45
(Page | 7)
Debtors:               WeWork Inc., et al.
Case No.               23-19865 (JKS)
Caption of Order:      Interim Order (I) Authorizing the Debtors to (A) Maintain Insurance and
                       Surety Coverage Entered into Prepetition and Pay Related Prepetition
                       Obligations, and (B) Renew, Supplement, Modify, or Purchase Insurance
                       and Surety Coverage, and (II) Granting Related Relief

       12.     Notwithstanding the relief granted in this Interim Order and any actions taken

pursuant to such relief, nothing in this Interim Order is intended as or shall be construed or

deemed to be: (i) an implication or admission as to the amount of, basis for, or validity of any

particular claim against the Debtors under the Bankruptcy Code or other applicable

non‑bankruptcy law; (ii) a waiver of the Debtors’ or any other party in interest’s rights to dispute

any particular claim on any grounds; (iii) a promise or requirement to pay any particular claim;

(iv) an implication, admission, or finding that any particular claim is an administrative expense

claim, other priority claim, or otherwise of a type specified or defined in this Interim Order or the

Motion or any order granting the relief requested by the Motion; (v) a request or authorization to

assume, adopt, or reject any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (vi) an admission as to the validity, priority, enforceability, or perfection of

any lien on, security interest in, or other encumbrance on property of the Debtors’ estates; (vii) a

waiver or limitation of the Debtors’, or any other party in interest’s, claims, causes of action, or

other rights under the Bankruptcy Code or any other applicable law; (viii) an approval,

assumption, adoption, or rejection of any agreement, contract, lease, program, or policy under

section 365 of the Bankruptcy Code; (ix) a concession by the Debtors that any liens (contractual,

common law, statutory, or otherwise) that may be satisfied pursuant to the relief requested in the

Motion are valid, and the rights of all parties in interest are expressly reserved to contest the

extent, validity, or perfection or seek avoidance of all such liens; (x) a waiver of the obligation of

any party in interest to file a proof of claim; or (xi) otherwise affecting the Debtors’ rights under

section 365 of the Bankruptcy Code to assume or reject any executory contract or unexpired
Case 23-19865-JKS          Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05           Desc Main
                                   Document      Page 29 of 45
(Page | 8)
Debtors:                WeWork Inc., et al.
Case No.                23-19865 (JKS)
Caption of Order:       Interim Order (I) Authorizing the Debtors to (A) Maintain Insurance and
                        Surety Coverage Entered into Prepetition and Pay Related Prepetition
                        Obligations, and (B) Renew, Supplement, Modify, or Purchase Insurance
                        and Surety Coverage, and (II) Granting Related Relief

lease. Any payment made pursuant to this Interim Order is not intended and should not be

construed as an admission as to the validity, priority, or amount of any particular claim or a

waiver of the Debtors’ or any other party in interest’s rights to subsequently dispute such claim.

       13.       Notwithstanding anything to the contrary contained in the Motion or this Interim

Order, any payment to be made pursuant to the authority granted in this Interim Order shall not

be inconsistent with, and shall be subject to and in compliance with, the requirements imposed

on the Debtors under the terms of each interim and final order entered by the Court in respect of

the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Use

Cash Collateral, (II) Granting Adequate Protection to the Prepetition Secured Parties,

(III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related

Relief filed substantially contemporaneously herewith (the “Cash Collateral Orders”), including

compliance with any budget or cash flow forecast in connection therewith and any other terms

and conditions thereof. Nothing herein is intended to modify, alter, or waive, in any way, any

terms, provisions, requirements, or restrictions of the Cash Collateral Orders. To the extent there

is any inconsistency between the terms of the Cash Collateral Orders and this Interim Order, the

terms of the Cash Collateral Orders shall control.

       14.       The Debtors are authorized, but not directed, to issue postpetition checks, or to

effect postpetition fund transfer requests, in replacement of any checks or fund transfer requests

that are dishonored as a consequence of these chapter 11 cases with respect to prepetition

amounts owed in connection with the relief granted herein and to the extent authorized by this

Interim Order.
Case 23-19865-JKS           Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05           Desc Main
                                    Document      Page 30 of 45
(Page | 9)
Debtors:                WeWork Inc., et al.
Case No.                23-19865 (JKS)
Caption of Order:       Interim Order (I) Authorizing the Debtors to (A) Maintain Insurance and
                        Surety Coverage Entered into Prepetition and Pay Related Prepetition
                        Obligations, and (B) Renew, Supplement, Modify, or Purchase Insurance
                        and Surety Coverage, and (II) Granting Related Relief

       15.     The requirements set forth in Bankruptcy Rule 6003(b) are satisfied by the

contents of the Motion or otherwise deemed waived.

       16.     The Debtors are authorized to take all reasonable actions necessary to effectuate

the relief granted pursuant to this Interim Order in accordance with the Motion.

       17.     Notwithstanding Bankruptcy Rule 6004(h), to the extent applicable, this Interim

Order shall be effective and enforceable immediately upon entry hereof.

       18.     Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are

satisfied by such notice.

       19.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

or otherwise waived.

       20.     The Debtors shall serve by regular mail a copy of this Interim Order and the

Motion on all parties required to receive such service pursuant to Local Rule 9013-5(f) within

two (2) business days after the entry of this Interim Order.

       21.     Any party may move for modification of this Interim Order in accordance with

Local Rule 9013-5(e).

       22.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.
Case 23-19865-JKS   Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05   Desc Main
                            Document      Page 31 of 45



                                    Exhibit B

                               Proposed Final Order
Case 23-19865-JKS            Doc 7     Filed 11/07/23 Entered 11/07/23 00:16:05                     Desc Main
                                      Document      Page 32 of 45



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
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KIRKLAND & ELLIS INTERNATIONAL LLP
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Proposed Co-Counsel for Debtors and
Debtors in Possession


In re:                                                            Chapter 11

WEWORK INC., et al.,                                              Case No. 23-19865 (JKS)

         Debtors.1                                                (Joint Administration Requested)



1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s
    principal place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address
    in these chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd.
    Beaverton, OR 97005.
Case 23-19865-JKS    Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05       Desc Main
                             Document      Page 33 of 45



              FINAL ORDER (I) AUTHORIZING THE DEBTORS
          TO (A) MAINTAIN INSURANCE AND SURETY COVERAGE
      ENTERED INTO PREPETITION AND PAY RELATED PREPETITION
    OBLIGATIONS AND (B) RENEW, SUPPLEMENT, MODIFY, OR PURCHASE
 INSURANCE AND SURETY COVERAGE, AND (II) GRANTING RELATED RELIEF

     The relief set forth on the following pages, numbered three (3) through nine (9), is

ORDERED.
Case 23-19865-JKS            Doc 7     Filed 11/07/23 Entered 11/07/23 00:16:05                     Desc Main
                                      Document      Page 34 of 45
(Page | 3)
Debtors:                  WeWork Inc., et al.
Case No.                  23-19865 (JKS)
Caption of Order:         Final Order (I) Authorizing the Debtors to (A) Maintain Insurance and
                          Surety Coverage Entered into Prepetition and Pay Related Prepetition
                          Obligations, and (B) Renew, Supplement, Modify, or Purchase Insurance
                          and Surety Coverage, and (II) Granting Related Relief

        Upon the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the

Debtors to (A) Maintain Insurance and Surety Coverage Entered into Prepetition and Pay

Related Prepetition Obligations and (B) Renew, Supplement, Modify, or Purchase Insurance and

Surety Coverage and (II) Granting Related Relief (the “Motion”),2 of the above-captioned

debtors and debtors in possession (collectively, the “Debtors”), for entry of a final order

(this “Final Order”) (i) authorizing the Debtors to (a) maintain coverage under the Insurance

Policies and the Surety Bonds (as applicable) and pay related prepetition obligations and

(b) renew, supplement, modify, or purchase insurance and surety coverage in the ordinary course

of business and (ii) granting related relief, all as more fully set forth in the Motion; and upon the

First Day Declaration; and the Court having jurisdiction to consider the Motion and the relief

requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to

the Bankruptcy Court Under Title 11 of the United States District Court for the District of New

Jersey, entered July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this

Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Debtors’ notice of

the Motion was appropriate under the circumstances and no other notice need be provided; and

this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the


2
    Capitalized terms used but not otherwise defined herein have the meaning ascribed to them in the Motion.


                                                        3
Case 23-19865-JKS         Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05            Desc Main
                                  Document      Page 35 of 45
(Page | 4)
Debtors:               WeWork Inc., et al.
Case No.               23-19865 (JKS)
Caption of Order:      Final Order (I) Authorizing the Debtors to (A) Maintain Insurance and
                       Surety Coverage Entered into Prepetition and Pay Related Prepetition
                       Obligations, and (B) Renew, Supplement, Modify, or Purchase Insurance
                       and Surety Coverage, and (II) Granting Related Relief

relief granted herein; and upon all of the proceedings had before the Court and after due

deliberation and sufficient cause appearing therefor IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED on a final basis as set forth herein.

       2.      The Debtors are authorized, but not directed, to continue and maintain the

Insurance Policies, including, but not limited to, the Insurance Policies identified on Exhibit C to

the Motion, and, in their sole discretion, pay any related prepetition or postpetition amounts or

obligations thereto in the ordinary course of business, and consistent with prepetition practice,

including, but not limited to, the Premiums, Deductibles, SIRs, Brokerage Fees, and any other

related expenses. The Debtors shall serve a copy of the Motion and this Final Order on each

Insurance Carrier listed on Exhibit C to the Motion within two (2) business days after the date

this Final Order is entered.

       3.      The Debtors are authorized, but not directed, to honor the terms of the Financing

Agreement and pay Premiums thereunder, in the ordinary course of their business and consistent

with past practices.

       4.     The Debtors are authorized, but not directed, to continue and maintain their Surety

Bond Program as applicable, including, in their sole discretion: (i) maintaining new Surety

Bonds and paying any related prepetition and postpetition amounts or obligations thereto in the

ordinary course of business, and consistent with prepetition practice, including, but not limited

to, Surety Premiums, Surety Brokerage Fees, and any other related expenses; (ii) entering into or

acquiring additional bonding capacity, as necessary, in the ordinary course of business, and

consistent with prepetition practice; (iii) requesting releases from duplicate bonding obligations;
Case 23-19865-JKS           Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05          Desc Main
                                    Document      Page 36 of 45
(Page | 5)
Debtors:                 WeWork Inc., et al.
Case No.                 23-19865 (JKS)
Caption of Order:        Final Order (I) Authorizing the Debtors to (A) Maintain Insurance and
                         Surety Coverage Entered into Prepetition and Pay Related Prepetition
                         Obligations, and (B) Renew, Supplement, Modify, or Purchase Insurance
                         and Surety Coverage, and (II) Granting Related Relief

(iv) cancelling, revising, and/or supplementing the Surety Bonds; (v) renewing, supplementing,

and/or cancelling letters of credit or other forms of collateral as may be necessary; (vi) providing

collateral and complying with collateral and indemnity requirements in the ordinary course of

business; (vii) replacing the Surety Bond Broker as may be necessary; and (viii) executing other

agreements in connection with the Surety Bond Program, each in the ordinary course of their

business and consistent with past practices to the extent the Debtors determine that such action is

in the best interest of their estates.

        5.      The Debtors are authorized, but not directed, in their sole discretion, to renew,

amend, supplement, extend, or purchase existing or additional insurance policies and surety

bonds in the ordinary course of business, and consistent with prepetition practice on a

postpetition basis, as well as replace any of the Brokers as may be necessary.

        6. To the extent the Debtors subsequently become aware of additional Insurance

Policies or Surety Bonds that have not previously been disclosed, or to the extent the Debtors

enter into material new Insurance Policies or Surety Programs or renew any material Insurance

Policies and Surety Bonds, the Debtors shall disclose these policies and programs to the U.S.

Trustee, the professional advisors to any statutory committees appointed in these chapter 11

cases, the Ad Hoc Group, and SoftBank.

        7.      The Debtors are authorized, but not directed, to honor any amounts owed on

account of any Insurance Policy Audits that take place in the ordinary course of business, and

consistent with prepetition practice.
Case 23-19865-JKS          Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05            Desc Main
                                   Document      Page 37 of 45
(Page | 6)
Debtors:                WeWork Inc., et al.
Case No.                23-19865 (JKS)
Caption of Order:       Final Order (I) Authorizing the Debtors to (A) Maintain Insurance and
                        Surety Coverage Entered into Prepetition and Pay Related Prepetition
                        Obligations, and (B) Renew, Supplement, Modify, or Purchase Insurance
                        and Surety Coverage, and (II) Granting Related Relief

       8.        Nothing in this Final Order authorizes the Debtors to accelerate any payments not

otherwise due.

       9.        To the extent that any Insurance Policies or Surety Bonds or any related

obligation, contract, or agreement are deemed an executory contract within the meaning of

section 365 of the Bankruptcy Code, neither this Final Order nor any payments made in

accordance with this Final Order shall constitute the postpetition assumption of any such

Insurance Policies or Surety Bonds or any related obligation, contract, or agreement pursuant to

section 365 of the Bankruptcy Code.

       10.       The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

to receive, process, honor, and pay all such checks and electronic payment requests when

presented for payment, and all such banks and financial institutions are authorized to rely on the

Debtors’ designation of any particular check or electronic payment request as approved by this

Final Order.

       11.       Notwithstanding the relief granted in this Final Order and any actions taken

pursuant to such relief, nothing in this Final Order is intended as or shall be construed or deemed

to be: (i) an implication or admission as to the amount of, basis for, or validity of any particular

claim against the Debtors under the Bankruptcy Code or other applicable non‑bankruptcy law;

(ii) a waiver of the Debtors’ or any other party in interest’s rights to dispute any particular claim

on any grounds; (iii) a promise or requirement to pay any particular claim; (iv) an implication,

admission, or finding that any particular claim is an administrative expense claim, other priority
Case 23-19865-JKS          Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05               Desc Main
                                   Document      Page 38 of 45
(Page | 7)
Debtors:               WeWork Inc., et al.
Case No.               23-19865 (JKS)
Caption of Order:      Final Order (I) Authorizing the Debtors to (A) Maintain Insurance and
                       Surety Coverage Entered into Prepetition and Pay Related Prepetition
                       Obligations, and (B) Renew, Supplement, Modify, or Purchase Insurance
                       and Surety Coverage, and (II) Granting Related Relief

claim, or otherwise of a type specified or defined in this Final Order or the Motion or any order

granting the relief requested by the Motion; (v) a request or authorization to assume, adopt, or

reject any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (vi) an

admission as to the validity, priority, enforceability, or perfection of any lien on, security interest

in, or other encumbrance on property of the Debtors’ estates; (vii) a waiver or limitation of the

Debtors’, or any other party in interest’s, claims, causes of action, or other rights under the

Bankruptcy Code or any other applicable law; (viii) an approval, assumption, adoption, or

rejection of any agreement, contract, lease, program, or policy under section 365 of the

Bankruptcy Code; (ix) a concession by the Debtors that any liens (contractual, common law,

statutory, or otherwise) that may be satisfied pursuant to the relief requested in the Motion are

valid, and the rights of all parties in interest are expressly reserved to contest the extent, validity,

or perfection or seek avoidance of all such liens; (x) a waiver of the obligation of any party in

interest to file a proof of claim; or (xi) otherwise affecting the Debtors’ rights under section 365

of the Bankruptcy Code to assume or reject any executory contract or unexpired lease. Any

payment made pursuant to this Final Order is not intended and should not be construed as an

admission as to the validity, priority, or amount of any particular claim or a waiver of the

Debtors’ or any other party in interest’s rights to subsequently dispute such claim.

        12.     Notwithstanding anything to the contrary contained in the Motion or this Final

Order, any payment to be made pursuant to the authority granted in this Final Order shall not be

inconsistent with, and shall be subject to and in compliance with, the requirements imposed on

the Debtors under the terms of each interim and final order entered by the Court in respect of the
Case 23-19865-JKS           Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05         Desc Main
                                    Document      Page 39 of 45
(Page | 8)
Debtors:               WeWork Inc., et al.
Case No.               23-19865 (JKS)
Caption of Order:      Final Order (I) Authorizing the Debtors to (A) Maintain Insurance and
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                       and Surety Coverage, and (II) Granting Related Relief

Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Use Cash

Collateral, (II) Granting Adequate Protection to the Prepetition Secured Parties, (III) Modifying

the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief filed

substantially contemporaneously herewith (the “Cash Collateral Orders”), including compliance

with any budget or cash flow forecast in connection therewith and any other terms and

conditions thereof. Nothing herein is intended to modify, alter, or waive, in any way, any terms,

provisions, requirements, or restrictions of the Cash Collateral Orders. To the extent there is any

inconsistency between the terms of the Cash Collateral Orders and this Final Order, the terms of

the Cash Collateral Orders shall control.

       13.     The Debtors are authorized, but not directed, to issue postpetition checks, or to

effect postpetition fund transfer requests, in replacement of any checks or fund transfer requests

that are dishonored as a consequence of these chapter 11 cases with respect to prepetition

amounts owed in connection with the relief granted herein and to the extent authorized by this

Final Order.

       14.     The Debtors are authorized to take all reasonable actions necessary to effectuate

the relief granted pursuant to this Final Order in accordance with the Motion.

       15.     Notwithstanding Bankruptcy Rule 6004(h), to the extent applicable, this Final

Order shall be effective and enforceable immediately upon entry hereof.

       16.     Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are

satisfied by such notice.
Case 23-19865-JKS        Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05            Desc Main
                                 Document      Page 40 of 45
(Page | 9)
Debtors:               WeWork Inc., et al.
Case No.               23-19865 (JKS)
Caption of Order:      Final Order (I) Authorizing the Debtors to (A) Maintain Insurance and
                       Surety Coverage Entered into Prepetition and Pay Related Prepetition
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                       and Surety Coverage, and (II) Granting Related Relief

       17.    The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

or otherwise waived.

       18.    This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Final Order.
Case 23-19865-JKS   Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05   Desc Main
                            Document      Page 41 of 45

                                    Exhibit C

                                Insurance Policies
        Case 23-19865-JKS         Doc 7     Filed 11/07/23 Entered 11/07/23 00:16:05               Desc Main
                                           Document      Page 42 of 45


 Type of Policy Coverage        Insurance Carrier(s)          Policy Number         Policy Term            Premium
                                                                                                           Amount
D&O Liability - Run-Off      Illinois National Ins Co. /    014202043          5/21/2020 - 5/21/2026   $       378,266
(Primary)                    AIG
D&O Liability - Run-Off      Zurich American Insurance      DOC054273800       5/21/2020 - 5/21/2026   $       290,000
(Excess)                     Co.
D&O Liability - Run-Off      Continental Casualty Co.       652109935          5/21/2020 - 5/21/2026   $       280,000
(Excess)
D&O Liability - Run-Off      Zurich American Insurance      DOC014926101       5/21/2020 - 5/21/2026   $       230,000
(Excess)                     Co.
D&O Liability - Run-Off      Westchester Fire Ins Co. /     G27983558004       5/21/2020 - 5/21/2026   $       210,000
(Excess)                     ACE
D&O Liability - Run-Off      National Casualty Co.          XMO1908841         5/21/2020 - 5/21/2026   $       200,000
(Excess)
D&O Liability - Run-Off      Argonaut Insurance Co.         MLX76017384        5/21/2020 - 5/21/2026   $       190,000
(Excess)
D&O Liability - Run-Off      U.S. Specialty Insurance Co.   14MGU19A46715      5/21/2020 - 5/21/2026   $       186,000
(Excess)
D&O Liability - Run-Off      QBE Insurance Co.              100007331          5/21/2020 - 5/21/2026   $       180,000
(Excess)
D&O Liability - Run-Off      Beazley Insurance Co.          V23653190201       5/21/2020 - 5/21/2026   $       178,000
(Excess)
D&O Liability - Run-Off      RSUI Indemnity Co.             NHS681591          5/21/2020 - 5/21/2026   $       170,000
(Excess)
D&O Liability - Run-Off      Underwriters at Lloyd’s        IFP000039001       5/21/2020 - 5/21/2026   $       168,000
(Excess)
D&O Liability - Run-Off      Canopius Insurance Services    EXNCUA1005400      5/21/2020 - 5/21/2026   $       158,000
(Excess)
D&O Liability - Run-Off      RLI Insurance co.              EPG0027368         5/21/2020 - 5/21/2026   $       130,000
(Excess)
D&O Liability - Run-Off      Allianz Global US Risk Ins     USF00143019        5/21/2020 - 5/21/2026   $       150,000
(Excess)                     Co
D&O Liability - Go-Forward   U.S. Specialty Insurance       14-MGU-23-         5/21/2023 - 5/21/2024   $      1,700,000
(Primary)                    Company                        A56496
D&O Liability - Go-Forward   Continental Casualty           652432155          5/21/2023 - 5/21/2024   $      1,075,000
(Excess)                     Company
D&O Liability - Go-Forward   Berkley Insurance Company      BPRO8093909        5/21/2023 - 5/21/2024   $       806,500
(Excess)
D&O Liability - Go-Forward   Endurance American             DOX30037875300     5/21/2023 - 5/21/2024   $       604,500
(Excess)                     Insurance Company
D&O Liability - Go-Forward   XL Specialty Insurance         ELU189978-23       5/21/2023 - 5/21/2024   $       450,000
(Excess)                     Company
D&O Liability - ERP (Run-    National Union Fire Is Co. /   01-420-13-06       5/21/2020 - 5/21/2026   $       124,000
Off)                         AIG
Cyber / E&O (Primary)        AIG Specialty Insurance        02-834-88-70       3/12/2023 - 3/12/2024   $       494,968
                             Company
Cyber / E&O (Excess)         Arch Specialty Insurance Co.   NPL0066239-02      3/12/2023 - 3/12/2024   $       395,975
Cyber / E&O (Excess)         Beazley Insurance Co.          V317C2230201       3/12/2023 - 3/12/2024   $       275,483
Cyber / E&O (Excess)         Greenwich Insurance            MTE903537105       3/12/2023 - 3/12/2024   $       234,160
                             Company
Workers Compensation &       AIU Insurance Company /        Policy Number      11/1/2023 - 11/1/2024
Employers Liability          AIG                            Pending (expired
                                                            policy number
                                                            15203241)                                  $       643,736
Workers Compensation &       AIG Property Casualty          Policy Number      11/1/2023 - 11/1/2024
Employers Liability          Company                        Pending (expired
                                                            policy number
           Case 23-19865-JKS       Doc 7     Filed 11/07/23 Entered 11/07/23 00:16:05                Desc Main
                                            Document      Page 43 of 45

  Type of Policy Coverage        Insurance Carrier(s)           Policy Number         Policy Term            Premium
                                                                                                             Amount
                                                              15203242)
Pollution Liability           Illinois Union Insurance Co.    ISPILLSB7XJO001    3/10/2021 - 3/10/2024   $       162,956
Errors & Omissions (Tail)     Hiscox Insurance Co.            ANE144964720       5/30/2021 - 5/30/2024   $       398,666
Crime                         National Union Fire Ins Co. /   02-582-31-93       2/28/2023 - 2/28/2024   $        12,897
                              AIG
Property                      Sompo America Insurance         Policy Number      11/1/2023 - 11/1/2024   $     8,500,181
                              Company                         Pending (expired
                                                              policy number
                                                              FTMS1037L0)
General Liability Liability   Endurance Assurance Corp.       Policy Number      11/1/2023 - 11/1/2024   $     2,347,653
                                                              Pending (expired
                                                              policy number
                                                              GGR10013937504)
Auto Liability                Sompo America Insurance         Policy Number      11/1/2023 - 11/1/2024   $         5,000
                              Company                         Pending (expired
                                                              policy number
                                                              GAR30026635500)
Umbrella Liability            Endurance Assurance Corp.       Policy Number      11/1/2023 - 11/1/2024
                                                              Pending (expired
                                                              policy number
                                                              GUR30000832304)
Excess Liability              Federal Insurance Co./Chubb     Policy Number      11/1/2023 - 11/1/2024
                                                              Pending (expired
                                                                                                         $     1,355,368
                                                              policy number
                                                              9364-22-00)
Excess Liability              Continental Insurance           Policy Number      11/1/2023 - 11/1/2024
                              Company                         Pending (expired
                                                              policy number
                                                              7034510720)
Flood Liability               American Bankers Ins Co. of     8705745678         3/24/2023 - 3/24/2024   $             988
                              Florida
Crime                         National Union Fire Ins         02-707-06-24       2/21/2023 - 2/21/2024   $        10,788
                              Co/AIG
Travel Accident / Travel      Zurich American Insurance       GTU8563730 /       7/14/2023 - 7/14/2026   $        68,991
Inconvenience                 Company                         GTP5563974
Terrorism                     Chubb European Group SE         Policy Number      11/1/2023 - 11/1/2024   $       320,000
                                                              Pending (expired
                                                              policy number
                                                              B0509BOWTN225
                                                              0685)
Casualty                      Royal & Sun Alliance            Policy Number      11/1/2023 - 11/1/2024   $         8,032
                              Insurance Company Of            Pending (expired
                              Canada                          policy number
                                                              COM 061663368)
Property                      Royal & Sun Alliance            Policy Number      11/1/2023 - 11/1/2024   $        53,485
                              Insurance Company Of            Pending (expired
                              Canada                          policy number
                                                              COM0 61765413)
Case 23-19865-JKS   Doc 7    Filed 11/07/23 Entered 11/07/23 00:16:05   Desc Main
                            Document      Page 44 of 45


                                    Exhibit D

                               Surety Bond Program
       Case 23-19865-JKS         Doc 7     Filed 11/07/23 Entered 11/07/23 00:16:05         Desc Main
                                          Document      Page 45 of 45

                                                                                                       Bond
     Surety           Bond No.               Obligee        Expiration Date   Bond Amount
                                                                                                  Description
  Philadelphia      PB02096600003          TSSP, LLC           6/13/2024       $8,000,000    Lease Security Bond

     Chubb           K15375553       Sunset North, LLC         3/31/2024       $7,500,000    Lease Security Bond
                                       VGB 990 AOA
     Aspen            612408783                                7/15/2024       $6,651,851    Lease Security Bond
                                            LLC
                                      MA-100 Summer
   Nationwide        SNN4013124                                6/12/2024       $4,400,925    Lease Security Bond
                                     Street Owner, LLC
                                     1711 Rhode Island
     Chubb           K13519900                                 2/12/2024       $4,000,000    Lease Security Bond
                                         Owner LLC
                                      575 Lex Property
     Chubb           K13519535                                 10/3/2024       $3,951,079    Lease Security Bond
                                        Owner, L.L.C.
                                        GW Property
     Chubb           K13519729                                12/18/2023       $3,000,000    Lease Security Bond
                                        Services LLC
                                        AAT LLOYD
Tokio Marine HCC     1000836526                                6/17/2024       $2,341,715    Lease Security Bond
                                      DISTRICT, LLC
                                       AG-EREP East
     Chubb           K15375425        Kennedy Owner,           3/21/2024       $1,983,900    Lease Security Bond
                                            LLC
                                      729 Washington
     Chubb           K13519067         Property Owner          2/20/2024       $3,081,192    Lease Security Bond
                                            LLC
Tokio Marine HCC     1000836522           Capitol View         3/27/2024       $2,449,815    Lease Security Bond
                                           BCSP Circa
                                         Property LLC c/o
     Chubb           K13519651                                 11/8/2023       $1,500,000    Lease Security Bond
                                          Beacon Capital
                                           Partners LLC
Tokio Marine HCC     1000836525          Giralda PB, LLC       5/1/2024        $1,617,524    Lease Security Bond
                                      Madison Centre,
     Chubb           K13519304                                 7/13/2024       $1,062,935    Lease Security Bond
                                            LLC
                                       1389 Peachtree
     Chubb           K13519882                                 2/7/2024        $1,024,531    Lease Security Bond
                                         Street, LP
                                       KBSIII Legacy
  Philadelphia      PB02096600004                              7/19/2024       $2,000,000    Lease Security Bond
                                     Town Center, LLC
                                      601 Metropolitan
      Argo           SUR0029008                                8/13/2024       $1,000,000    Lease Security Bond
                                        Square LLC
                                       881 Peachtree
     Chubb           K15375450                                 3/29/2024       $1,314,738    Lease Security Bond
                                        Street, LLC
                                     CRP/MI West Loop
      Argo           SUR0029014                                8/26/2024        $600,000     Lease Security Bond
                                        Owner, LLC
                                     T-C 4th & Madison
     Chubb           K13519894                                 2/7/2024        $3,686,492    Lease Security Bond
                                            LLC
Tokio Marine HCC     1000836524      RED Development           4/12/2024       $2,000,000    Lease Security Bond
                                          AB Metro
                                     Properties Ltd. and
     Chubb           8252-37-49      Station Square 4670       3/8/2024        $2,573,548    Lease Security Bond
                                      Assembly Limited
                                          Partnership
Federal Insurance                     Mikoma Electric
                     K4165479A                                 1/5/2024         $141,147     Mechanic Lien Bond
   Company                                   LLC
Federal Insurance                        Wasserstein
                     K41662499                                 4/12/2024        $67,155      Mechanic Lien Bond
   Company                             Enterprises LLC
Federal Insurance                        Wasserstein
                     K41708797                                 5/10/2024        $416,715     Mechanic Lien Bond
   Company                             Enterprises LLC
